                                            Case 19-15508                      Doc 28              Filed 05/17/19                   Page 1 of 35
 Fill in this information to identify your case:

 Debtor 1                   Megan E. Allen
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF MARYLAND

 Case number           19-15508
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          2,829,127.50

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              53,681.30

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          2,882,808.80

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          5,834,300.10

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          3,495,848.05


                                                                                                                                     Your total liabilities $             9,330,148.15


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              13,000.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              18,529.05

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
                                        Case 19-15508                Doc 28     Filed 05/17/19            Page 2 of 35
 Debtor 1      Megan E. Allen                                                             Case number (if known) 19-15508

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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                                              Case 19-15508                           Doc 28         Filed 05/17/19              Page 3 of 35
 Fill in this information to identify your case and this filing:

 Debtor 1                    Megan E. Allen
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF MARYLAND

 Case number            19-15508                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        111 76th Street, Unit 105                                                      Single-family home                          Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                         the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                   Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                   Current value of the      Current value of the
        Ocean City                        MD        21842-0000                         Land                                        entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $528,895.00                 $528,895.00
                                                                                       Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                       Other                                       (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one     a life estate), if known.
                                                                                       Debtor 1 only                               Tenancy by Entirety
        Worcester                                                                      Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                    page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
                                              Case 19-15508                Doc 28           Filed 05/17/19                Page 4 of 35
 Debtor 1        Megan E. Allen                                                                                         Case number (if known)          19-15508

       If you own or have more than one, list here:
 1.2                                                                   What is the property? Check all that apply
       160 Channel Buoy Road                                                  Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Ocean City                        MD        21842-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $860,921.00                    $430,460.50
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only
       Worcester                                                              Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Ownership: Stephen Allen and Megan Allen, Tenants by the Entireties
                                                                       50%; Patricia A. Shrader, Fee Simple 50%


       If you own or have more than one, list here:
 1.3                                                                   What is the property? Check all that apply
       7798 NE Spanish Trail Court                                            Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Boca Raton                        FL        33487-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                 $1,869,772.00                    $1,869,772.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Tenancy by Entirety
       Palm Beach                                                             Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                   $2,829,127.50

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                      Schedule A/B: Property                                                                               page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
                                        Case 19-15508                       Doc 28         Filed 05/17/19              Page 5 of 35
 Debtor 1        Megan E. Allen                                                                                     Case number (if known)       19-15508
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Toyota                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      4Runner                                         Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2016                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                  45,000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 1508 Brewster Gate
         Road, Crownsville MD 21032                                  Check if this is community property                              $22,746.00                 $22,746.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $22,746.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    (Leased residence) Couch, table, small table, table & chairs, china
                                    cabinet, chair, couch chair, table bed, dresser, 2 night stands,
                                    dresser, 2 night stands, dresser, 2 night stands bed, 2 couches,
                                    table & chairs, chair chouch pots and pans, dishes, flatware, small
                                    appliances, misc. outdoor furniture.                                                                                            $1,500.00


                                    (OC Condominium) Table & 4 chairs, couch, loveseat, chair table,
                                    pots and pans, disches, flatware, small appliances, bed, dresser, 2
                                    night stands, 2 twin beds, dresser, night stand, bed, dresser, 2
                                    night stands.                                                                                                                     $800.00


                                    (Florida property) Couch, love seat, 2 tables, end table, bed,
                                    dresser, 2 night stands, small desk, chair, 2 twin beds, dresser,
                                    night stand, bed, dresser, 2 night stands, bed 2 night stands,
                                    dresser, pots and pans, dishes, flatware, small appliances,
                                    outdoor furniture.                                                                                                              $1,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....



Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 3
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                                        Case 19-15508                Doc 28        Filed 05/17/19      Page 6 of 35
 Debtor 1       Megan E. Allen                                                                      Case number (if known)     19-15508


                                    (leased property) 5 tvs, stereo, cellphones, printer                                                           $350.00


                                    (OC Condinium) 4 tvs                                                                                           $120.00


                                    (Florida property) 5 tvs, stereo, printer                                                                      $300.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Women's clothing                                                                                               $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Wedding band and engagement ring
                                    Location: 1508 Brewster Gate Road, Crownsville MD 21032                                                      $1,500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                    Dog                                                                                                                $1.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $6,071.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                       Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
Official Form 106A/B                                                 Schedule A/B: Property                                                          page 4
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                                                 Case 19-15508                              Doc 28                Filed 05/17/19     Page 7 of 35
 Debtor 1          Megan E. Allen                                                                                                  Case number (if known)   19-15508
                                                                                                                                                              claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                          Joint Savings with
                                              17.1.       Minor Child #2650                       Navy Federal Credit Union                                                       $0.00


                                                          Joint Savings with
                                              17.2.       Minor Child #1330                       Navy Federal Credit Union                                                       $0.00


                                                          Savings Account
                                              17.3.       #7915                                   Navy Federal Credit Union                                                     $25.11


                                                          Savings Account
                                              17.4.       #4897                                   Navy Federal Credit Union                                                       $5.00



                                              17.5.       Checking #4179                          Navy Federal Credit Union                                                 $6,995.00



                                              17.6.       Savings #4421                           GAP Federal Credit Union                                                    $130.10



                                              17.7.       Checking 8325                           Old Line Bank                                                             $2,682.32


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                  % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

                                              IRA                                                 TRowePrice                                                                $5,626.77


Official Form 106A/B                                                                       Schedule A/B: Property                                                                 page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
                                        Case 19-15508                Doc 28        Filed 05/17/19           Page 8 of 35
 Debtor 1        Megan E. Allen                                                                          Case number (if known)      19-15508
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:


                                      Rent deposit                       James and Corina Greig                                                      $9,400.00


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                            Surrender or refund
                                                                                                                                        value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
Official Form 106A/B                                                 Schedule A/B: Property                                                                page 6
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 Debtor 1         Megan E. Allen                                                                                                        Case number (if known)   19-15508

        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                $24,864.30


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $2,829,127.50
 56. Part 2: Total vehicles, line 5                                                                           $22,746.00
 57. Part 3: Total personal and household items, line 15                                                       $6,071.00
 58. Part 4: Total financial assets, line 36                                                                  $24,864.30
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $53,681.30              Copy personal property total              $53,681.30

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $2,882,808.80




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 7
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                                       Case 19-15508                      Doc 28      Filed 05/17/19            Page 10 of 35
 Fill in this information to identify your case:

 Debtor 1                 Megan E. Allen
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number           19-15508
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2016 Toyota 4Runner 45,000 miles                               $22,746.00                                  $3,974.00     Md. Code Ann., Cts. & Jud.
      Location: 1508 Brewster Gate Road,                                                                                       Proc. § 11-504(b)(5)
      Crownsville MD 21032                                                                 100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit

      2016 Toyota 4Runner 45,000 miles                               $22,746.00                                    $217.00     Md. Code Ann., Cts. & Jud.
      Location: 1508 Brewster Gate Road,                                                                                       Proc. § 11-504(f)(1)(i)(1)
      Crownsville MD 21032                                                                 100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit

      (Leased residence) Couch, table,                                $1,500.00                                  $1,000.00     Md. Code Ann., Cts. & Jud.
      small table, table & chairs, china                                                                                       Proc. § 11-504(b)(4)
      cabinet, chair, couch chair, table bed,                                              100% of fair market value, up to
      dresser, 2 night stands, dresser, 2                                                  any applicable statutory limit
      night stands, dresser, 2 night stands
      bed, 2 couches, table & chairs, chair
      chouch pots and pans, dishes, flatwa
      Line from Schedule A/B: 6.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                                       Case 19-15508                   Doc 28         Filed 05/17/19            Page 11 of 35
 Debtor 1    Megan E. Allen                                                                              Case number (if known)     19-15508
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     (Leased residence) Couch, table,                                 $1,500.00                                    $500.00        11 U.S.C. § 522(b)(3)(B)
     small table, table & chairs, china
     cabinet, chair, couch chair, table bed,                                               100% of fair market value, up to
     dresser, 2 night stands, dresser, 2                                                   any applicable statutory limit
     night stands, dresser, 2 night stands
     bed, 2 couches, table & chairs, chair
     chouch pots and pans, dishes, flatwa
     Line from Schedule A/B: 6.1

     (OC Condominium) Table & 4 chairs,                                  $800.00                                   $800.00        11 U.S.C. § 522(b)(3)(B)
     couch, loveseat, chair table, pots and
     pans, disches, flatware, small                                                        100% of fair market value, up to
     appliances, bed, dresser, 2 night                                                     any applicable statutory limit
     stands, 2 twin beds, dresser, night
     stand, bed, dresser, 2 night stands.
     Line from Schedule A/B: 6.2

     (Florida property) Couch, love seat,                             $1,000.00                                  $1,000.00        11 U.S.C. § 522(b)(3)(B)
     2 tables, end table, bed, dresser, 2
     night stands, small desk, chair, 2                                                    100% of fair market value, up to
     twin beds, dresser, night stand, bed,                                                 any applicable statutory limit
     dresser, 2 night stands, bed 2 night
     stands, dresser, pots and pans,
     dishes, flatware, small appliances,
     out
     Line from Schedule A/B: 6.3

     (leased property) 5 tvs, stereo,                                    $350.00                                   $350.00        11 U.S.C. § 522(b)(3)(B)
     cellphones, printer
     Line from Schedule A/B: 7.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     (OC Condinium) 4 tvs                                                $120.00                                   $120.00        11 U.S.C. § 522(b)(3)(B)
     Line from Schedule A/B: 7.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     (Florida property) 5 tvs, stereo,                                   $300.00                                   $300.00        11 U.S.C. § 522(b)(3)(B)
     printer
     Line from Schedule A/B: 7.3                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wedding band and engagement ring                                 $1,500.00                                  $1,500.00        Md. Code Ann., Cts. & Jud.
     Location: 1508 Brewster Gate Road,                                                                                           Proc. § 11-504(f)(1)(i)(1)
     Crownsville MD 21032                                                                  100% of fair market value, up to
     Line from Schedule A/B: 12.1                                                          any applicable statutory limit

     Dog                                                                    $1.00                                     $1.00       Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 13.1                                                                                                 Proc. § 11-504(b)(5)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking #4179: Navy Federal Credit                              $6,995.00                                  $3,283.00        Md. Code Ann., Cts. & Jud.
     Union                                                                                                                        Proc. § 11-504(f)(1)(i)(1)
     Line from Schedule A/B: 17.5                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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                                       Case 19-15508                   Doc 28         Filed 05/17/19            Page 12 of 35
 Debtor 1    Megan E. Allen                                                                              Case number (if known)     19-15508
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Checking #4179: Navy Federal Credit                              $6,995.00                                  $2,025.00        Md. Code Ann., Cts. & Jud.
     Union                                                                                                                        Proc. § 11-504(b)(5)
     Line from Schedule A/B: 17.5                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: TRowePrice                                                  $5,626.77                                  $5,626.77        Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 21.1                                                                                                 Proc. § 11-504(h)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Rent deposit: James and Corina                                   $9,400.00                                  $9,400.00        11 U.S.C. § 522(b)(3)(B)
     Greig
     Line from Schedule A/B: 22.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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                                          Case 19-15508                   Doc 28            Filed 05/17/19          Page 13 of 35
 Fill in this information to identify your case:

 Debtor 1                   Megan E. Allen
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number           19-15508
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Bayview Loan Servicing,
 2.1                                                                                                          $189,965.40            $1,869,772.00          $189,965.40
         LLC                                      Describe the property that secures the claim:
         Creditor's Name                          7798 NE Spanish Trail Court Boca
                                                  Raton, FL 33487 Palm Beach
                                                  County
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 650091                          apply.
         Dallas, TX 75265                             Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)    Second Mortgage
       community debt

 Date debt was incurred          4/2007                    Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 8
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 Debtor 1 Megan E. Allen                                                                                      Case number (if known)   19-15508
               First Name                  Middle Name                      Last Name


 2.2     Internal Revenue Service                   Describe the property that secures the claim:                   $252,154.09        $1,869,772.00             $0.00
         Creditor's Name                            7798 NE Spanish Trail Court Boca
                                                    Raton, FL 33487 Palm Beach
                                                    County
                                                    As of the date you file, the claim is: Check all that
         31 Hopkins Plaza                           apply.
         Baltimore, MD 21201                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    Federal Tax Lien
       community debt

 Date debt was incurred          2013                        Last 4 digits of account number


 2.3     Internal Revenue Service                   Describe the property that secures the claim:                   $486,631.96        $1,869,772.00    $254,132.05
         Creditor's Name                            7798 NE Spanish Trail Court Boca
                                                    Raton, FL 33487 Palm Beach
                                                    County
                                                    As of the date you file, the claim is: Check all that
         31 Hopkins Plaza                           apply.
         Baltimore, MD 21201                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    Federal Tax Lien
       community debt

 Date debt was incurred          2012                        Last 4 digits of account number


 2.4     Internal Revenue Service                   Describe the property that secures the claim:                   $486,631.96         $528,895.00     $195,932.55
         Creditor's Name                            111 76th Street, Unit 105 Ocean City,
                                                    MD 21842 Worcester County
                                                    As of the date you file, the claim is: Check all that
         31 Hopkins Plaza                           apply.
         Baltimore, MD 21201                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    Federal Tax Lien
       community debt

 Date debt was incurred                                      Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 8
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 Debtor 1 Megan E. Allen                                                                                      Case number (if known)   19-15508
               First Name                  Middle Name                      Last Name


 2.5     Internal Revenue Service                   Describe the property that secures the claim:                   $252,154.09         $528,895.00    $252,154.09
         Creditor's Name                            111 76th Street, Unit 105 Ocean City,
                                                    MD 21842 Worcester County
                                                    As of the date you file, the claim is: Check all that
         31 Hopkins Plaza                           apply.
         Baltimore, MD 21201                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.6     Internal Revenue Service                   Describe the property that secures the claim:                   $486,631.96         $860,921.00    $486,631.96
         Creditor's Name                            160 Channel Buoy Road Ocean City,
                                                    MD 21842 Worcester County
                                                    Ownership: Stephen Allen and
                                                    Megan Allen, Tenants by the
                                                    Entireties 50%; Patricia A. Shrader,
                                                    Fee Simple 50%
                                                    As of the date you file, the claim is: Check all that
         31 Hopkins Plaza                           apply.
         Baltimore, MD 21201                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    Federal tax lien
       community debt

 Date debt was incurred                                      Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 8
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 Debtor 1 Megan E. Allen                                                                                      Case number (if known)   19-15508
               First Name                  Middle Name                      Last Name


 2.7     Internal Revenue Service                   Describe the property that secures the claim:                   $252,154.09         $860,921.00    $252,154.09
         Creditor's Name                            160 Channel Buoy Road Ocean City,
                                                    MD 21842 Worcester County
                                                    Ownership: Stephen Allen and
                                                    Megan Allen, Tenants by the
                                                    Entireties 50%; Patricia A. Shrader,
                                                    Fee Simple 50%
                                                    As of the date you file, the claim is: Check all that
         31 Hopkins Plaza                           apply.
         Baltimore, MD 21201                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.8     Old Line Bank                              Describe the property that secures the claim:                    $95,121.50         $860,921.00     $95,121.50
         Creditor's Name                            160 Channel Buoy Road Ocean City,
                                                    MD 21842 Worcester County
                                                    Ownership: Stephen Allen and
                                                    Megan Allen, Tenants by the
                                                    Entireties 50%; Patricia A. Shrader,
                                                    Fee Simple 50%
                                                    As of the date you file, the claim is: Check all that
         1525 Pointer Ridge Place                   apply.
         Bowie, MD 20716                                 Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          12/30/2015                  Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 4 of 8
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 Debtor 1 Megan E. Allen                                                                                      Case number (if known)   19-15508
               First Name                  Middle Name                      Last Name


 2.9     Old Line Bank                              Describe the property that secures the claim:                   $119,046.98         $860,921.00    $119,046.98
         Creditor's Name                            160 Channel Buoy Road Ocean City,
                                                    MD 21842 Worcester County
                                                    Ownership: Stephen Allen and
                                                    Megan Allen, Tenants by the
                                                    Entireties 50%; Patricia A. Shrader,
                                                    Fee Simple 50%
                                                    As of the date you file, the claim is: Check all that
         1525 Pointer Ridge Place                   apply.
         Bowie, MD 20716                                 Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          1/26/2016                   Last 4 digits of account number


 2.1
 0       Old Line Bank                              Describe the property that secures the claim:                    $95,121.50         $528,895.00     $95,121.50
         Creditor's Name                            111 76th Street, Unit 105 Ocean City,
                                                    MD 21842 Worcester County
                                                    As of the date you file, the claim is: Check all that
         1525 Pointer Ridge Place                   apply.
         Bowie, MD 20716                                 Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 5 of 8
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 Debtor 1 Megan E. Allen                                                                                      Case number (if known)   19-15508
               First Name                  Middle Name                      Last Name


 2.1
 1       Old Line Bank                              Describe the property that secures the claim:                   $119,046.98         $528,895.00    $119,046.98
         Creditor's Name                            111 76th Street, Unit 105 Ocean City,
                                                    MD 21842 Worcester County
                                                    As of the date you file, the claim is: Check all that
         1525 Pointer Ridge Place                   apply.
         Bowie, MD 20716                                 Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1
 2       Patricia Shrader                           Describe the property that secures the claim:                   $188,000.00         $860,921.00    $188,000.00
         Creditor's Name                            160 Channel Buoy Road Ocean City,
                                                    MD 21842 Worcester County
                                                    Ownership: Stephen Allen and
                                                    Megan Allen, Tenants by the
                                                    Entireties 50%; Patricia A. Shrader,
                                                    Fee Simple 50%
                                                    As of the date you file, the claim is: Check all that
         160 Channel Buoy Road                      apply.
         Ocean City, MD 21842                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    Right of Contribution
       community debt

 Date debt was incurred          4/2004                      Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 6 of 8
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 Debtor 1 Megan E. Allen                                                                                      Case number (if known)   19-15508
               First Name                  Middle Name                      Last Name


 2.1     Rushmore Loan
 3       Management Services                        Describe the property that secures the claim:                   $238,195.59         $528,895.00              $0.00
         Creditor's Name                            111 76th Street, Unit 105 Ocean City,
                                                    MD 21842 Worcester County
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 52708                             apply.
         Irvine, CA 92619                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    Deed of Trust
       community debt

 Date debt was incurred                                      Last 4 digits of account number         6264

 2.1
 4       Specialized Loan Service                   Describe the property that secures the claim:                 $1,385,118.00        $1,869,772.00             $0.00
         Creditor's Name                            7798 NE Spanish Trail Court Boca
         8742 Lucent Boulevard,                     Raton, FL 33487 Palm Beach
         Suite 300                                  County
                                                    As of the date you file, the claim is: Check all that
         Highlands Ranch, CO                        apply.
         80129                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    First Mortgage
       community debt

 Date debt was incurred          4/2007                      Last 4 digits of account number         3298




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 7 of 8
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 Debtor 1 Megan E. Allen                                                                                      Case number (if known)   19-15508
               First Name                  Middle Name                      Last Name


 2.1
 5       SunTrust                                   Describe the property that secures the claim:                 $1,169,771.00           $860,921.00    $308,850.00
         Creditor's Name                            160 Channel Buoy Road Ocean City,
                                                    MD 21842 Worcester County
                                                    Ownership: Stephen Allen and
                                                    Megan Allen, Tenants by the
         Attn: Bankruptcy                           Entireties 50%; Patricia A. Shrader,
         P.O. Box 85092 MC                          Fee Simple 50%
                                                    As of the date you file, the claim is: Check all that
         VA-WMRK-7952                               apply.
         Richmond, VA 23286                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    Deed of Trust
       community debt

 Date debt was incurred          12/19/2008                  Last 4 digits of account number         2525

 2.1     Toyota Financial
 6       Services                                   Describe the property that secures the claim:                    $18,555.00            $22,746.00             $0.00
         Creditor's Name                            2016 Toyota 4Runner 45,000 miles
                                                    Location: 1508 Brewster Gate Road,
         P.O. Box 17187                             Crownsville MD 21032
                                                    As of the date you file, the claim is: Check all that
         Baltimore, MD                              apply.
         21297-0511                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    Installment Loan
       community debt

 Date debt was incurred                                      Last 4 digits of account number         9365


   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $5,834,300.10
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $5,834,300.10

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 8 of 8
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                                           Case 19-15508                  Doc 28           Filed 05/17/19                 Page 21 of 35
 Fill in this information to identify your case:

 Debtor 1                     Megan E. Allen
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF MARYLAND

 Case number           19-15508
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
 2.1          Comptroller of Maryland                                Last 4 digits of account number                          Unknown           Unknown               Unknown
              Priority Creditor's Name
              301 West Preston Street, Suite                         When was the debt incurred?
              310
              Baltimore, MD 21201
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        2016, 2017, 2018 income taxes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 6
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                                        Case 19-15508                     Doc 28            Filed 05/17/19               Page 22 of 35
 Debtor 1 Megan E. Allen                                                                                   Case number (if known)            19-15508

 2.2        Department of the Treasury                               Last 4 digits of account number                         Unknown                Unknown                 Unknown
            Priority Creditor's Name
            Centralized Insolvency                                   When was the debt incurred?
            Operations
            P. O. Box 7436
            Philadelphia, PA 19101-7346
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            2016, 2017, 2018 income taxes

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        AmTrust Surety                                             Last 4 digits of account number                                                                    Unknown
            Nonpriority Creditor's Name
            17771 Cowan                                                When was the debt incurred?
            Irvine, CA 92614
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify    personal guaranty of business debt




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 6
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 Debtor 1 Megan E. Allen                                                                                 Case number (if known)         19-15508

 4.2      BMW Financial Services                                     Last 4 digits of account number       1319                                           $54,676.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                      Opened 06/15 Last Active
          P. O. Box 3608                                             When was the debt incurred?           6/04/18
          Dublin, OH 43016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   deficiency on lease


 4.3      BMW Financial Services                                     Last 4 digits of account number       6971                                           $46,725.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                      Opened 06/15 Last Active
          P. O. Box 3608                                             When was the debt incurred?           8/01/17
          Dublin, OH 43016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   deficiency on lease


 4.4      Internal Revenue Service                                   Last 4 digits of account number                                                     $249,599.37
          Nonpriority Creditor's Name
          Centralized Insolvency Unit                                When was the debt incurred?           2009
          P. O. Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   income tax




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 6
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 Debtor 1 Megan E. Allen                                                                                 Case number (if known)         19-15508

 4.5      Internal Revenue Service                                   Last 4 digits of account number                                                     $144,180.52
          Nonpriority Creditor's Name
          Centralized Insolvency Unit                                When was the debt incurred?           2010
          P. O. Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   income tax


 4.6      Internal Revenue Service                                   Last 4 digits of account number                                                      $92,852.07
          Nonpriority Creditor's Name
          Centralized Insolvency Unit                                When was the debt incurred?           2011
          P. O. Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   income tax


 4.7      Internal Revenue Service                                   Last 4 digits of account number                                                     $252,154.09
          Nonpriority Creditor's Name
          Centralized Insolvency Unit                                When was the debt incurred?           2012
          P. O. Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   income tax




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 6
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 Debtor 1 Megan E. Allen                                                                                 Case number (if known)          19-15508

 4.8       Ocwen Loan Servicing                                      Last 4 digits of account number       4832                                                  $300,000.00
           Nonpriority Creditor's Name
           Attn: Research/Bankruptcy                                                                       Opened 7/15/05 Last Active
           1661 Worthington Road, Suite 100                          When was the debt incurred?           2/12/16
           West Palm Beach, FL 33409
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   deficiency on sale of asset at foreclosure


 4.9       Westfield Insurance Company                               Last 4 digits of account number                                                            $2,355,661.00
           Nonpriority Creditor's Name
           c/o The Law Office of Monica                              When was the debt incurred?
           Guilarte
           P. O. Box 1607
           Laurel, MD 20725
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         judgment based on personal guaranty of
              Yes                                                       Other. Specify   business debt

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 First Source Advantage LLC                                    Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 205 Bryant Woods South                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Buffalo, NY 14228
                                                               Last 4 digits of account number                    7195

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 5 of 6
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 Debtor 1 Megan E. Allen                                                                             Case number (if known)    19-15508

                        6e.   Total Priority. Add lines 6a through 6d.                                 6e.      $                     0.00

                                                                                                                        Total Claim
                        6f.   Student loans                                                            6f.      $                     0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $             3,495,848.05

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $             3,495,848.05




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 6 of 6
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                                         Case 19-15508                      Doc 28   Filed 05/17/19         Page 27 of 35
 Fill in this information to identify your case:

 Debtor 1                  Megan E. Allen
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF MARYLAND

 Case number           19-15508
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                    State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       James and Corina Greig                                                       Rental agreement - automatic yearly renewal - expires
               4705 Redding Lane                                                            2/28/2020
               Bowie, MD 20715




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                                          Case 19-15508                        Doc 28     Filed 05/17/19      Page 28 of 35
 Fill in this information to identify your case:

 Debtor 1                   Megan E. Allen
                            First Name                           Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF MARYLAND

 Case number           19-15508
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                     Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                              Check all schedules that apply:


    3.1         Annapolis Site Development, Inc.                                                              Schedule D, line
                1610 Professional Boulevard, Suite F                                                          Schedule E/F, line    4.1
                Crofton, MD 21114
                                                                                                              Schedule G
                                                                                                            AmTrust Surety



    3.2         Island Contracting, Inc.                                                                      Schedule D, line
                7012 Kingfisher Lane                                                                          Schedule E/F, line    4.1
                Lanham, MD 20706
                                                                                                              Schedule G
                                                                                                            AmTrust Surety



    3.3         Patricia A. Shrader                                                                           Schedule D, line   2.15
                160 Channel Buoy Road                                                                         Schedule E/F, line
                Ocean City, MD 21842
                                                                                                              Schedule G
                                                                                                            SunTrust




Official Form 106H                                                                      Schedule H: Your Codebtors                                 Page 1 of 3
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 Debtor 1 Megan E. Allen                                                                     Case number (if known)   19-15508


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.4      Stephen R. Allen                                                                       Schedule D, line   2.15
             1508 Brewster Gate Road                                                                Schedule E/F, line
             Crownsville, MD 21032
                                                                                                    Schedule G
                                                                                                  SunTrust



    3.5      Stephen R. Allen                                                                        Schedule D, line   2.6
             1508 Brewster Gate Road                                                                 Schedule E/F, line
             Crownsville, MD 21032
                                                                                                     Schedule G
                                                                                                  Internal Revenue Service



    3.6      Stephen R. Allen                                                                       Schedule D, line   2.1
             1508 Brewster Gate Road                                                                Schedule E/F, line
             Crownsville, MD 21032
                                                                                                    Schedule G
                                                                                                  Bayview Loan Servicing, LLC



    3.7      Stephen R. Allen                                                                        Schedule D, line   2.2
             1508 Brewster Gate Road                                                                 Schedule E/F, line
             Crownsville, MD 21032
                                                                                                     Schedule G
                                                                                                  Internal Revenue Service



    3.8      Stephen R. Allen                                                                        Schedule D, line   2.3
             1508 Brewster Gate Road                                                                 Schedule E/F, line
             Crownsville, MD 21032
                                                                                                     Schedule G
                                                                                                  Internal Revenue Service



    3.9      Stephen R. Allen                                                                        Schedule D, line   2.4
             1508 Brewster Gate Road                                                                 Schedule E/F, line
             Crownsville, MD 21032
                                                                                                     Schedule G
                                                                                                  Internal Revenue Service



    3.10     Stephen R. Allen                                                                        Schedule D, line   2.5
             1508 Brewster Gate Road                                                                 Schedule E/F, line
             Crownsville, MD 21032
                                                                                                     Schedule G
                                                                                                  Internal Revenue Service



    3.11     Stephen R. Allen                                                                        Schedule D, line   2.7
             1508 Brewster Gate Road                                                                 Schedule E/F, line
             Crownsville, MD 21032
                                                                                                     Schedule G
                                                                                                  Internal Revenue Service




Official Form 106H                                                            Schedule H: Your Codebtors                                Page 2 of 3
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 Debtor 1 Megan E. Allen                                                                     Case number (if known)   19-15508


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.12     Stephen R. Allen                                                                       Schedule D, line   2.8
             1508 Brewster Gate Road                                                                Schedule E/F, line
             Crownsville, MD 21032
                                                                                                    Schedule G
                                                                                                  Old Line Bank



    3.13     Stephen R. Allen                                                                       Schedule D, line   2.9
             1508 Brewster Gate Road                                                                Schedule E/F, line
             Crownsville, MD 21032
                                                                                                    Schedule G
                                                                                                  Old Line Bank



    3.14     Stephen R. Allen                                                                       Schedule D, line   2.10
             1508 Brewster Gate Road                                                                Schedule E/F, line
             Crownsville, MD 21032
                                                                                                    Schedule G
                                                                                                  Old Line Bank



    3.15     Stephen R. Allen                                                                       Schedule D, line   2.11
             1508 Brewster Gate Road                                                                Schedule E/F, line
             Crownsville, MD 21032
                                                                                                    Schedule G
                                                                                                  Old Line Bank



    3.16     Stephen R. Allen                                                                       Schedule D, line   2.12
             1508 Brewster Gate Road                                                                Schedule E/F, line
             Crownsville, MD 21032
                                                                                                    Schedule G
                                                                                                  Patricia Shrader



    3.17     Stephen R. Allen                                                                       Schedule D, line   2.13
             1508 Brewster Gate Road                                                                Schedule E/F, line
             Crownsville, MD 21032
                                                                                                    Schedule G
                                                                                                  Rushmore Loan Management Services



    3.18     Stephen R. Allen                                                                       Schedule D, line   2.14
             1508 Brewster Gate Road                                                                Schedule E/F, line
             Crownsville, MD 21032
                                                                                                    Schedule G
                                                                                                  Specialized Loan Service




Official Form 106H                                                            Schedule H: Your Codebtors                                Page 3 of 3
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Fill in this information to identify your case:

Debtor 1                      Megan E. Allen

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF MARYLAND

Case number               19-15508                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            Consultant                                  Owner
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Annapolis Site Development                  Annapolis Site Development

       Occupation may include student        Employer's address    1610 Professional Blvd., Suite
       or homemaker, if it applies.                                F                                           1610 Professional Blvd., Suite F
                                                                   Crofton, MD 21114                           Crofton, MD 21114

                                             How long employed there?         2 years                                   2 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         4,333.33        $         8,666.67

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      4,333.33               $   8,666.67




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1   Megan E. Allen                                                                        Case number (if known)    19-15508


                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $       4,333.33        $         8,666.67

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               0.00
     5e.    Insurance                                                                     5e.        $              0.00     $               0.00
     5f.    Domestic support obligations                                                  5f.        $              0.00     $               0.00
     5g.    Union dues                                                                    5g.        $              0.00     $               0.00
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $           4,333.33        $        8,666.67
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $               0.00
     8b. Interest and dividends                                                           8b.        $              0.00     $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
     8e. Social Security                                                                  8e.        $              0.00     $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $               4,333.33 + $        8,666.67 = $          13,000.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $          13,000.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                        page 2
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Fill in this information to identify your case:

Debtor 1                 Megan E. Allen                                                                     Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF MARYLAND                                                        MM / DD / YYYY

Case number           19-15508
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for    Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............     Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                        No
      dependents names.                                                             Daughter                             15                   Yes
                                                                                                                                              No
                                                                                    Daugher                              17                   Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                         Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                             4,700.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.    $                            100.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.    $                            100.00
      4d. Homeowner’s association or condominium dues                                                      4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
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Debtor 1     Megan E. Allen                                                                            Case number (if known)      19-15508

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                650.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                230.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,000.00
8.    Childcare and children’s education costs                                                 8. $                                               250.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               100.00
10.   Personal care products and services                                                    10. $                                                150.00
11.   Medical and dental expenses                                                            11. $                                                100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 500.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   0.00
      15b. Health insurance                                                                15b. $                                               2,200.00
      15c. Vehicle insurance                                                               15c. $                                                   0.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  647.98
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                   0.00
      20b. Real estate taxes                                                               20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:    OC Condo mortgage                                                   21. +$                                             1,662.44
      OC Condo HOA fees                                                                           +$                                              560.00
      OC Condo maintenance expenses                                                               +$                                              300.00
      OC Property mortgage                                                                        +$                                            4,428.63
      OC Property maintenance expenses                                                            +$                                              750.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      18,529.05
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      18,529.05
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              13,000.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             18,529.05

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -5,529.05

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    Megan E. Allen
                             First Name                     Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number              19-15508
 (if known)                                                                                                                            Check if this is an
                                                                                                                                       amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                           12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                              Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                 Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Megan E. Allen                                                         X
              Megan E. Allen                                                             Signature of Debtor 2
              Signature of Debtor 1

              Date       April 19, 2019                                                  Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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